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                         IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE

In re:                                                    ) Chapter 11
                                                          )
TSAWD HOLDINGS, INC., et al.,1                            ) Case No. 16-10527 (MFW)
                                                          )
                                   Debtors.               ) (Jointly Administered)
                                                          )
                                                            Related Docket No. 4258

      CERTIFICATION OF NO OBJECTION REGARDING NINTH QUARTERLY
    APPLICATION FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES
         OF BDO USA, LLP, AS FINANCIAL ADVISOR FOR THE OFFICIAL
          COMMITTEE OF UNSECURED CREDITORS, FOR THE PERIOD
                 FROM MAY 1, 2018, THROUGH JULY 31, 2018

                 The undersigned hereby certifies that, as of the date hereof, he has received no

answer, objection or other responsive pleading to the Ninth Quarterly Application for

Compensation and Reimbursement of Expenses of BDO USA, LLP, as Financial Advisor for the

Official Committee of Unsecured Creditors, for the Period from May 1, 2018, through July 31,

2018, (Docket No. 4258) (the "Application"), filed and served on September 21, 2018. The

undersigned further certifies that he has caused the Court's docket in this case to be reviewed,

and no answer, objection or other responsive pleading to the Application appears thereon.

Pursuant to the notice of the Application, objections to the Application were to be filed and

served no later than October 8, 2018.




1
  The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: TSAWD
Holdings, Inc. f/k/a Sports Authority Holdings, Inc. (9008); Slap Shot Holdings, Corp. (8209); The Sports
Authority, Inc. (2802); TSA Stores, Inc. (1120); TSA Gift Card, Inc. (1918); TSA Ponce, Inc. (4817); and TSA
Caribe, Inc. (5664). The headquarters for the above-captioned Debtors is located at 1050 West Hampden Avenue,
Englewood, Colorado 80110.
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             A   HEARING   TO   CONSIDER    BDO’S    NINTH     QUARTERLY        FEE

APPLICATION WILL BE HELD ON A DATE AND TIME TO BE DETERMINED BEFORE

THE HONORABLE MARY F. WALRATH, UNITED STATES BANKRUPTCY JUDGE, AT

THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE,

824 N. MARKET STREET, FIFTH FLOOR, COURTROOM NO. 4, WILMINGTON, DE

19801.


Dated: October 15, 2018            PACHULSKI STANG ZIEHL & JONES LLP
                                   /s/ Colin R. Robinson
                                   Robert J. Feinstein (NY Bar No. 1767805)
                                   Jeffrey N. Pomerantz (CA Bar No. 143717)
                                   Bradford J. Sandler (DE Bar No. 4142)
                                   Colin R. Robinson (DE Bar No. 5524)
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                                   Counsel to the Official Committee of Unsecured
                                   Creditors




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